                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


DAMIEN SHONTELL HEWLETT,

                               Plaintiff,
       v.                                                             Case No. 22-C-1376


JASON HILL, et al.,

                               Defendants.


                                    DECISION AND ORDER


       Plaintiff Damien Shontell Hewlett is currently serving a state prison sentence and

representing himself in this 42 U.S.C. §1983 action. On May 24, 2023, Hewlett filed a motion to

compel discovery responses. Dkt. No. 14. He asks the Court to compel Defendants to produce an

unredacted version of the September 19, 2022 emergency call log for his housing unit. He also

asks the Court to compel them to produce all photographs of his injuries. The Court will deny

Hewlett’s motion without prejudice. Civil L. R. 37 requires that, before filing a motion to compel,

a party must first discuss the issue with the opposing party’s lawyer. This is because parties are

frequently able to resolve discovery disputes on their own, which saves the Court and the parties

valuable time and resources. If the parties are unable to resolve the issue and a party files a motion

to compel, the motion must include a certification that the parties tried to resolve the issue without

the Court’s involvement. Hewlett’s motion does not include the required certification, suggesting

that he asked the Court to get involved before attempting to informally resolve his disputes with

Defendants’ counsel. Accordingly, the Court will deny his motion. If the parties are unable to

resolve Hewlett’s issues after conferring in good faith, Hewlett may refile his motion.




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       The Court encourages Hewlett to keep in mind that information about other inmates is

irrelevant to his claims and producing such information may invade an inmate’s privacy. As such,

Defendants may produce redacted documents to provide Hewlett with information responsive to

his requests while maintaining other inmates’ privacy. For example, while the document Hewlett

marks as Exhibit 1 is heavily redacted, it is responsive to his request for documents showing that

he pressed his emergency call button on September 19, 2022. Information about other inmates

who pressed their emergency call buttons for reasons unrelated to Hewlett’s claims is irrelevant.

With that in mind, the parties are encouraged to discuss what information, in light of privacy

concerns, should be redacted in the event an inmate other than Hewlett pressed his emergency call

button for reasons related to Hewlett’s claims. Further, the Court reminds Hewlett that Defendants

cannot produce photographs that do not exist. Given that an incident report references photographs

of Hewlett’s injuries, Defendants’ counsel is encouraged to run additional searches for the

photographs and, if the photographs still cannot be located, to explain to Hewlett what efforts were

made to locate the referenced photographs and why the referenced photographs cannot be located.

       IT IS THEREFORE ORDERED that Hewlett’s motion to compel (Dkt. No. 14) is

DENIED without prejudice.

       Dated at Green Bay, Wisconsin this 30th day of May, 2023.

                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge




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